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              IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA


SYZYGY INTEGRATION LLC               :        CIVIL ACTION
                                     :
          v.                         :
                                     :
BRYAN HARRIS                         :        NO. 22-1466



                                   ORDER

         AND NOW, this      25th     day of April, 2022, it is

hereby ORDERED that the above-captioned case is referred to

Magistrate Judge Elizabeth T. Hey for a settlement conference to

be scheduled as soon as conveniently possible.




                                         BY THE COURT:


                                         /s/ Harvey Bartle III
                                         _                     ________
                                                                      J.
